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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 PPS DATA, LLC,                              §
                                             §
                Plaintiff,                   §
                                             §
 y.                                          § CIVIL ACTION NO. 2:18-CV-00007-JRG
                                             §
 JACK HENRY & ASSOCIATES, INC.,              §
                                             §
                Defendant.                   §

                                VERDICT FORM


      In answering the following questions and completing this Verdict Form, you are

to follow all the instructions I have given you in the Court s Final Instructions to the

Jury (which has sometimes been called the Court’s Charge to the Jury). Your answers

to each question must be unanimous. Some of the questions contain legal terms that

are defined and explained in detail in the Court’s Charge to the Jury. You should refer

to and consider the Court’s Charge to the Jury as you answer the questions in this

Verdict Form.
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       In this Verdict Form, the following terms have the following meanings:




        PPS Data refers to PPS Data, LLC.


        Jack Henry” refers to Jack Henry & Associates, Inc.


        The 106 Patent” refers to United States Patent No. 7,216,106.


       “The Asserted Claims” refers collectively to Claims 1, 2, 3, 4, 5, 6, and 9 of the

 ’106 Patent.
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 QUESTION NO. 1




       Did PPS Data prove by a preponderance of the evidence that Jack Henry directly

 infringed ANY of the Asserted Claims in the 106 Patent?




       Please answer Yes or “No .
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 QUESTION NO. 2




       Did Jack Henry prove by clear and convincing evidence that, from t e

 perspective of a person of ordinary skill in the art, the Asserted Claims of the

  106 Patent ONLY involve activities that were well-understood, routine, and

 conventional as of April 28,2000?




       For each claim below, please answer Yes or “No .




        lai 1 of the ’106 Patent:          Yes:   V           No:


       Claim 2 of the ’106 Patent:         Yes:   /           No:


       Clai 3 of the ’106 Patent:          Yes:   V           No:


       Claim 4 of the ’106 Patent:         Yes:   -           No:


       Claim 5 of the ’106 Patent:         Yes:   /           No:


       Claim 6 of the ’106 Patent:         Yes:               No:


       Claim 9 of the ’106 Patent:         Yes:   /           No:
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 If you answered YES to Question No. 1 and you answered NO to at
 least one part of Question No. 2, then you should proceed to answer
 Question No. 3. If you answered NO to Question No. I, or you answered
  YES to all parts of Question No. 2, then do not answer Question No. 3.




 QUESTION NO. 3




       What sum of money, if any, paid now in cas , has PPS Data proven by a

preponderance of the evidence would compensate PPS Data for its damages resulting

 from Jack Henry s infringement of the ’106 Patent?




       Amount in United States dollars and cents:


       $
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                 FINAL PAGE OF THE JURY VERDICT FORM

       You have now reached the end of the Verdict Form and should review it to ensure

 it accurately reflects your unanimous determinations. The jury foreperson should then

 sign and date the Verdict Form in the spaces below. Once this is done, notify the Court

 Security Officer that you have reached a verdict. The jury foreperson should keep the

 Verdict Form and bring it when the jury is brought back into the courtroom.




 Signed this   )�     day of September 2019.
